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   Exhibit C-2
                       Case: 1:12-cv-08733 Document #: 189-5 Filed: 11/30/16 Page 2 of 13 PageID #:5867
                                                          Artunduaga v. University of Chicago Medical Center
                                                                   Plaintiff's Proposed Exhibit List
                                                                          November 30, 2016
Ex. No.     Date                                 Description                        Bates Number               Objections                    Plaintiff's Statement of Admissibility
                                                                                                                                             (Where Applicable)
  1        7/5-8/11    Kaplan Service Schedule                                      UCMC 00015180              FRE 602/901: Lack             FRE 602 applies to witnesses, not
                                                                                                               personal knowledge/           documents. Document was produced by
                                                                                                               foundation/ authentication.   UCMC and, therefore, is implicitly
                                                                                                               FRE 403: misleading.          authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                               Contains PHI.                 116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                             record. Document shows anticipated
                                                                                                                                             schedule for attendings and residents
                                                                                                                                             during applicable week and is not
                                                                                                                                             misleading. Document does not contain
                                                                                                                                             PHI.
  2       7/11-17/11   Kaplan Service Schedule                                      UCMC 0009931               FRE 602/901: Lack             FRE 602 applies to witnesses, not
                                                                                                               personal knowledge/           documents. Document was produced by
                                                                                                               foundation/ authentication.   UCMC and, therefore, is implicitly
                                                                                                               FRE 403: misleading.          authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                               Contains PHI.                 116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                             record. Document shows anticipated
                                                                                                                                             schedule for attendings and residents
                                                                                                                                             during applicable week and is not
                                                                                                                                             misleading. Document does not contain
                                                                                                                                             PHI.
  3       7/18-24/11   Kaplan Service Schedule                                      UCMC 0008228-29            FRE 602/901: Lack             FRE 602 applies to witnesses, not
                                                                                                               personal knowledge/           documents. Document was produced by
                                                                                                               foundation/ authentication.   UCMC and, therefore, is implicitly
                                                                                                               FRE 403: misleading.          authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                               Contains PHI.                 116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                             record. Document shows anticipated
                                                                                                                                             schedule for attendings and residents
                                                                                                                                             during applicable week and is not
                                                                                                                                             misleading. Document does not contain
                                                                                                                                             PHI.
  4       7/25-31/11   Kaplan Service Schedule                                      UCMC 00008226              FRE 602/901: Lack             FRE 602 applies to witnesses, not
                                                                                                               personal knowledge/           documents. Document was produced by
                                                                                                               foundation/ authentication.   UCMC and, therefore, is implicitly
                                                                                                               FRE 403: misleading.          authentic. U.S. v. Brown, 688 F.2d 112,
                                                                                                               Contains PHI.                 116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                             record. Document shows anticipated
                                                                                                                                             schedule for attendings and residents
                                                                                                                                             during applicable week and is not
                                                                                                                                             misleading. Document does not contain
                                                                                                                                             PHI.
  5        8/1-5/11    Kaplan Service -- Case and Clinic Coverage                   UCMC 0008223-24            FRE 602/901: Lack             FRE 602 applies to witnesses, not
                                                                                                               personal knowledge/           documents. Document was produced by
                                                                                                               foundation/ authentication.   UCMC and, therefore, is implicitly
                                                                                                               FRE 403: misleading.          authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                               Contains PHI.                 116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                             record. Document shows anticipated
                                                                                                                                             schedule for attendings and residents
                                                                                                                                             during applicable week and is not
                                                                                                                                             misleading. Document does not contain
                                                                                                                                             PHI.
                        Case: 1:12-cv-08733 Document #: 189-5 Filed: 11/30/16 Page 3 of 13 PageID #:5868
                                                            Artunduaga v. University of Chicago Medical Center
                                                                     Plaintiff's Proposed Exhibit List
                                                                            November 30, 2016
Ex. No.      Date                                 Description                         Bates Number               Objections                    Plaintiff's Statement of Admissibility
                                                                                                                                               (Where Applicable)
  6         8/4/11      Song e-mail to Jaskowiak re: Resident Issue                   UCMC 00015518-20

  7       8/8-12/11     Kaplan Service -- Case and Clinic Coverage                    UCMC 00008221              FRE 602/901: Lack           FRE 602 applies to witnesses, not
                                                                                                                 personal knowledge/         documents. Document was produced by
                                                                                                                 foundation/ authentication. UCMC and, therefore, is implicitly
                                                                                                                 FRE 403: misleading.        authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                 Contains PHI.               116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                             record. Document shows anticipated
                                                                                                                                             schedule for attendings and residents
                                                                                                                                             during applicable week and is not
                                                                                                                                             misleading. Document does not contain
                                                                                                                                             PHI.
  8       8/16-19/11    Kaplan Service -- Case and Clinic Coverage                    UCMC 00008217              FRE 602/901: Lack           FRE 602 applies to witnesses, not
                                                                                                                 personal knowledge/         documents. Document was produced by
                                                                                                                 foundation/ authentication. UCMC and, therefore, is implicitly
                                                                                                                 FRE 403: misleading.        authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                 Contains PHI.               116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                             record. Document shows anticipated
                                                                                                                                             schedule for attendings and residents
                                                                                                                                             during applicable week and is not
                                                                                                                                             misleading. Document does not contain
                                                                                                                                             PHI.
  9       8/22-26/11    Kaplan Service -- Case and Clinic Coverage                    UCMC 00008213              FRE 602/901: Lack           FRE 602 applies to witnesses, not
                                                                                                                 personal knowledge/         documents. Document was produced by
                                                                                                                 foundation/ authentication. UCMC and, therefore, is implicitly
                                                                                                                 FRE 403: misleading.        authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                 Contains PHI.               116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                             record. Document shows anticipated
                                                                                                                                             schedule for attendings and residents
                                                                                                                                             during applicable week and is not
                                                                                                                                             misleading. Document does not contain
                                                                                                                                             PHI.
  10      8/29-9/2/11   Kaplan Service -- Case and Clinic Coverage                    UCMC 00008211              FRE 602/901: Lack           FRE 602 applies to witnesses, not
                                                                                                                 personal knowledge/         documents. Document was produced by
                                                                                                                 foundation/ authentication UCMC and, therefore, is implicitly
                                                                                                                 FRE 403: Misleading         authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                 Contains PHI                116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                             record. Document shows anticipated
                                                                                                                                             schedule for attendings and residents
                                                                                                                                             during applicable week and is not
                                                                                                                                             misleading. Document does not contain
                                                                                                                                             PHI.
  11       8/31/11      Dickie e-mail to Song re: MA                                  UCMC 00021867-68

  12      9/1-30/11     Schedule of Surgical Services                                 UCMC 00007419-20
                         Case: 1:12-cv-08733 Document #: 189-5 Filed: 11/30/16 Page 4 of 13 PageID #:5869
                                                                 Artunduaga v. University of Chicago Medical Center
                                                                          Plaintiff's Proposed Exhibit List
                                                                                 November 30, 2016
Ex. No.      Date                                   Description                            Bates Number               Objections                   Plaintiff's Statement of Admissibility
                                                                                                                                                   (Where Applicable)
  13       9/5-13/11     Block Service Schedule                                            UCMC 00009653              FRE 602/901: Lack            FRE 602 applies to witnesses, not
                                                                                                                      personal knowledge/          documents. Document was produced by
                                                                                                                      foundation/ authentication. UCMC and, therefore, is implicitly
                                                                                                                      FRE 403: misleading.         authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                      Contains PHI.                116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                                   record. Document shows anticipated
                                                                                                                                                   schedule for attendings and residents
                                                                                                                                                   during applicable week and is not
                                                                                                                                                   misleading. Document does not contain
                                                                                                                                                   PHI.
  14         9/9/11      Dickie e-mail to Lee re: Intern Issue                             UCMC 00021417-18           FRE 602/901: Lack            FRE 602 applies to witnesses, not
                                                                                                                      personal                     documents. Document was produced by
                                                                                                                      knoweldge/foundation/        UCMC and, therefore, is implicitly
                                                                                                                      authentication (as to 9/9 e- authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                      mails between Dickie and 116 (7th Cir. 1982). Admissible under FRE
                                                                                                                      Lee)                         801(d)(2)(D).
  15      9/12-20/11     Block Service Schedule                                            UCMC 00009643              FRE 602/901: Lack            FRE 602 applies to witnesses, not
                                                                                                                      personal knowledge/          documents. Document was produced by
                                                                                                                      foundation/ authentication. UCMC and, therefore, is implicitly
                                                                                                                      FRE 403: misleading.         authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                      Contains PHI.                116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                                   record. Document shows anticipated
                                                                                                                                                   schedule for attendings and residents
                                                                                                                                                   during applicable week and is not
                                                                                                                                                   misleading. Document does not contain
                                                                                                                                                   PHI.
  16      9/19-27/11     Block Service Schedule                                            UCMC 00009634              FRE 602/901: Lack            FRE 602 applies to witnesses, not
                                                                                                                      personal knowledge/          documents. Document was produced by
                                                                                                                      foundation/ authentication. UCMC and, therefore, is implicitly
                                                                                                                      FRE 403: misleading.         authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                      Contains PHI.                116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                                   record. Document shows anticipated
                                                                                                                                                   schedule for attendings and residents
                                                                                                                                                   during applicable week and is not
                                                                                                                                                   misleading. Document does not contain
                                                                                                                                                   PHI.
  17      9/26-10/4/11   Block Service Schedule                                            UCMC 00009623              FRE 602/901: Lack            FRE 602 applies to witnesses, not
                                                                                                                      personal knowledge/          documents. Document was produced by
                                                                                                                      foundation/ authentication. UCMC and, therefore, is implicitly
                                                                                                                      FRE 403: misleading.         authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                      Contains PHI.                116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                                   record. Document shows anticipated
                                                                                                                                                   schedule for attendings and residents
                                                                                                                                                   during applicable week and is not
                                                                                                                                                   misleading. Document does not contain
                                                                                                                                                   PHI.
  18        9/26/11      Song e-mail to Dickie & Lee re: November intern switch            UCMC 00021392-93

  19        9/26/11      Song e-mail to Dickie re: November intern switch                  UCMC 00021833-36
                       Case: 1:12-cv-08733 Document #: 189-5 Filed: 11/30/16 Page 5 of 13 PageID #:5870
                                                             Artunduaga v. University of Chicago Medical Center
                                                                      Plaintiff's Proposed Exhibit List
                                                                             November 30, 2016
Ex. No.     Date                                  Description                            Bates Number             Objections                     Plaintiff's Statement of Admissibility
                                                                                                                                                 (Where Applicable)
  20       9/29/11     Angelos e-mail to Artunduaga re: Rotation evaluation              UCMC 00001629-30

  21       9/29/11     Song e-mail to Dickie & Lee re: Yearly Sch Change - Effects Oct   UCMC 00021383-84

  22       9/29/11     Artunduaga e-mail to Lee & Dickie re: Yearly Sch Change -         UCM 00021380
                       Effects Oct
  23       10/2/11     Dickie email to Lee & others re: This Week for PRS                MA 008632-33
  24      10/18/11     Agenda Surgical Education Committee Meeting                       UCMC 00012458            FRE 401/402/403 -        Relevant to counter Dr. Song's statement
                                                                                                                  Irrelevant, immaterial,  to Dr. Artunduaga that decision to put her
                                                                                                                  confusing. FRE 602: Lack on probation was made by the Residency
                                                                                                                  personal                 Education Committee. FRE 602 applies to
                                                                                                                  knowledge/foundation     witnesses, not documents. Document was
                                                                                                                                           produced by UCMC and, therefore, is
                                                                                                                                           implicitly authentic. U.S. v. Brown , 688
                                                                                                                                           F.2d 112, 116 (7th Cir. 1982). FRE 803(6)
                                                                                                                                           business record.
  25      10/18/11     Minutes Surgical Education Committee Meeting                      UCMC 00022833            FRE 401/402/403 -        Relevant to counter Dr. Song's statement
                                                                                                                  Irrelevant, immaterial,  to Dr. Artunduaga that decision to put her
                                                                                                                  confusing. FRE 602: Lack on probation was made by the Residency
                                                                                                                  personal                 Education Committee. FRE 602 applies to
                                                                                                                  knowledge/foundation     witnesses, not documents. Document was
                                                                                                                                           produced by UCMC and, therefore, is
                                                                                                                                           implicitly authentic. U.S. v. Brown, 688
                                                                                                                                           F.2d 112, 116 (7th Cir. 1982). FRE 803(6)
                                                                                                                                           business record.
  26      11/1-30/11   Schedule of Surgical Services                                     MA 006372-73

  27       11/1/11     Moreira e-mail to Seal & Grossman re: Weekends                    UCMC 00020556-57         FRE 602: Lack personal         FRE 602 applies to witnesses, not
                                                                                                                  knowledge/foundation           documents. Document was produced by
                                                                                                                                                 UCMC and, therefore, is implicitly
                                                                                                                                                 authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                                                 116 (7th Cir. 1982). Admissible under FRE
                                                                                                                                                 801(d)(2)(D).
  28       11/1/11     Kamin email to Williams & Song re: Dr. A                          UCMC 00010498-99

  29      Nov. 2011    Draft probation letter to Dr. Artunduaga                          UCMC 00018195-96         FRE 501/502: Privileged.       UCMC has failed to establish privilege.
                                                                                                                  FRE 403: Unfairly              Document appears to have been attached
                                                                                                                  prejudicial. Identified as     to 11/11/11 email between Akilah Williams
                                                                                                                  privileged (a) during          and Barry Kamin, neither of whom are
                                                                                                                  deposition of David Song,      attorneys. There is nothing unfairly
                                                                                                                  (b) in April 2016 and (c) in   prejudicial about a draft of the probation
                                                                                                                  November 2016.                 letter provided to Dr. Artunduaga. Fact that
                                                                                                                  Also undated.                  document is not dated does not make it
                                                                                                                                                 inadmissible.
  30      11/18/11     Jaskowiak e-mail to Song re: Follow-up on Conversation of Today UCMC 00015405

  31      11/26/11     Grossman e-mail to Artunduaga re: Evaluation                      UCMC 00001604            Incomplete - missing           Missing page does not include any
                                                                                                                  UCMC 1605                      substance.
  32      1/2-31/12    Schedule of Surgical Services                                     UCMC 00007355-56
                            Case: 1:12-cv-08733 Document #: 189-5 Filed: 11/30/16 Page 6 of 13 PageID #:5871
                                                                  Artunduaga v. University of Chicago Medical Center
                                                                           Plaintiff's Proposed Exhibit List
                                                                                  November 30, 2016
Ex. No.        Date                                    Description                              Bates Number           Objections                  Plaintiff's Statement of Admissibility
                                                                                                                                                   (Where Applicable)
  33           1/4/12       Willliams e-mail to Fleming & Shao re: Evaluation for Maria         UCMC 0001425
                            Artunduaga, MD
  34      1/13/12 - 5/12/12 Text messages between Artunduaga & Fleming                          MA 008678-94           Contains PHI. Refers to     PHI will be redacted. Plaintiff will also
                                                                                                                       greivance hearing, which    redact references to grievance hearing if
                                                                                                                       is the subject of one of    she prevails on Motion in Limine.
                                                                                                                       Plaintiff's MILs.
  35         2/1-29/12      Schedule of Surgical Services                                       UCMC 00006996-97

  36           2/7/12       Williams e-mail to Li, Olaitan & Fleming re: Evaluation for Maria   UCMC 00011826
                            Artunduaga, MD
  37           2/8/12       Song e-mail to Roggin re: Mandatory Meeting                         UCMC 00013900          FRE 401/402/403:            Document relevant to communications
                                                                                                                       Irrelevant, Immaterial,     between Dr. Roggin and Dr. Song relating
                                                                                                                       misleading Incomplete       to Dr. Artunduaga.
                                                                                                                       (missing UCMC 13901-
                                                                                                                       02), Unfairly prejudicial
  38           3/8/12       Song e-mail to McAtee re: Draft of termination letter               UCMC 00019633          FRE 403: Misleading,      The fact that a communication occurred
                                                                                                                       Incomplete, Unfairly      between Dr. Song and Ms. McAtee is not
                                                                                                                       Prejudicial. FRE 501/502: privileged. The jury is entitled to know that
                                                                                                                       Privileged. Subject to    Dr. Song had drafted a termination letter
                                                                                                                       motion in limine.         and sent it to counsel weeks before the
                                                                                                                                                 faculty met to purportedly decide Dr.
                                                                                                                                                 Artunduaga's fate. Judge Zagel found this
                                                                                                                                                 evidence to be probative of pretext. See
                                                                                                                                                 Dkt. 101 at 24-25. See also Plaintiff's
                                                                                                                                                 Response to Motion in Limine .
  39          3/12/12       Smith e-mail to Song & Park re: Draft of termination letter         UCMC 00019629-32       FRE 403: Misleading,      The fact that a communication occurred
                                                                                                                       Incomplete, Unfairly      between Dr. Song and Ms. McAtee is not
                                                                                                                       Prejudicial. FRE 501/502: privileged. The jury is entitled to know that
                                                                                                                       Privileged. Subject to    Dr. Song had drafted a termination letter
                                                                                                                       motion in limine          and sent it to counsel weeks before the
                                                                                                                                                 faculty met to purportedly decide Dr.
                                                                                                                                                 Artunduaga's fate. Judge Zagel found this
                                                                                                                                                 evidence to be probative of pretext. See
                                                                                                                                                 Dkt. 101 at 24-25. See also Plaintiff's
                                                                                                                                                 Response to Motion in Limine .
  40          3/29/12       Williams e-mail to Kleiber re: eval                                 UCMC 00011609          FRE 602: Lack of          FRE 602 applies to witnesses, not
                                                                                                                       foundation/personal       documents. Document was produced by
                                                                                                                       knoweldge. FRE            UCMC and, therefore, is implicitly
                                                                                                                       401/402/403: Irrelevant,  authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                       Immaterial                116 (7th Cir. 1982). FRE 801(d)(2)(D) - not
                                                                                                                                                 hearsay. This document is relevant
                                                                                                                                                 because UCMC had already decided to
                                                                                                                                                 terminate Dr. Artunduaga but are still trying
                                                                                                                                                 to paper the file with negative information.
                            Case: 1:12-cv-08733 Document #: 189-5 Filed: 11/30/16 Page 7 of 13 PageID #:5872
                                                                 Artunduaga v. University of Chicago Medical Center
                                                                          Plaintiff's Proposed Exhibit List
                                                                                 November 30, 2016
Ex. No.        Date                                   Description                              Bates Number           Objections                 Plaintiff's Statement of Admissibility
                                                                                                                                                 (Where Applicable)
  41      10/1/11-3/31/12   Evaluation re-cap for Maria Artunduaga                             UCMC 00013731-53       FRE 602/901: Lack          FRE 602 applies to witnesses, not
                                                                                                                      foundation/personal        documents. Document was produced by
                                                                                                                      knowledge/authentication. UCMC and, therefore, is implicitly
                                                                                                                      FRE 403: Cumulative,       authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                      confusing, unfairly        116 (7th Cir. 1982). Admissible under
                                                                                                                      prejudicial                801(d)(2)(D). Document not cumulative
                                                                                                                                                 because includes averages of scores that
                                                                                                                                                 evaluations themselves do not include.
  42          4/5/12        Grossman e-mail to Seal FWD: Reinstatement of clinical duties      UCMC 00019759          FRE 602: Lack of           FRE 602 applies to witnesses, not
                                                                                                                      foundation/personal        documents. Document was produced by
                                                                                                                      knowledge. FRE             UCMC and, therefore, is implicitly
                                                                                                                      401/402/403: Irrelevant,   authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                      Immaterial, Incomplete,    116 (7th Cir. 1982). Admissible under FRE
                                                                                                                      Unfairly Prejudicial       801(d)(2)(D). It is relevant and not unfairly
                                                                                                                                                 prejudicial for jury to understand how Dr.
                                                                                                                                                 Artunduaga's reputation had been
                                                                                                                                                 poisoned at UCMC.
  43          4/6/12        McAtee e-mail to Artunduaga re: Reinstatement of clinical duties   UCMC 00001406-07       Subject to Plaintiff's MIL The document is not subject to any Motion
                                                                                                                                                 in Limine .
  44          4/6/12        Roggin e-mail to Grossman & Seal re: MA on Kaplan service          UCMC 00018852

  45          4/8/12        Angelos e-mail to Roggin re: Intern on Kaplan Service              UCMC 00014489-91

  46          4/8/12        Jaskowiak e-mail to Angelos & Roggin re: Intern on Kaplan          UCMC 00014487-88
                            Service
  47          4/9/12        Kaplan Service -- Case and Clinic Coverage                         UCMC 00009781-82       FRE 602/901: Lack             FRE 602 applies to witnesses, not
                                                                                                                      personal knowledge/           documents. Document was produced by
                                                                                                                      foundation/ authentication.   UCMC and, therefore, is implicitly
                                                                                                                      FRE 403: misleading.          authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                      Contains PHI.                 116 (7th Cir. 1982). FRE 803(6) business
                                                                                                                                                    record. Document shows anticipated
                                                                                                                                                    schedule for attendings and residents
                                                                                                                                                    during applicable week and is not
                                                                                                                                                    misleading. Document does not contain
                                                                                                                                                    PHI.
  48         4/11/12        McAtee e-mail to Simon re: Grievance Review (provisionally         UCMC 00004416-17
                            offered)
  49         4/25/12        Song e-mail to Roggin re: MA Confidential Attorney Client          UCMC 00018831          FRE 602: lack                 FRE 602 applies to witnesses, not
                            Communication                                                                             foundation/personal           documents. Document was produced by
                                                                                                                      knowledge. FRE                UCMC and, therefore, is implicitly
                                                                                                                      401/402/403: Irrelevant,      authentic. U.S. v. Brown , 688 F.2d 112,
                                                                                                                      Immaterial, Misleading,       116 (7th Cir. 1982). Documents admissible
                                                                                                                      Unfairly Prejudicial          under FRE 801(d)(2)(D). Document is
                                                                                                                                                    relevant to show Dr. Song is still
                                                                                                                                                    considering clinical rotations for Dr.
                                                                                                                                                    Artunduaga after he advised her she had
                                                                                                                                                    been terminated.
                    Case: 1:12-cv-08733 Document #: 189-5 Filed: 11/30/16 Page 8 of 13 PageID #:5873
                                                         Artunduaga v. University of Chicago Medical Center
                                                                  Plaintiff's Proposed Exhibit List
                                                                         November 30, 2016
Ex. No.    Date                               Description                            Bates Number             Objections                    Plaintiff's Statement of Admissibility
                                                                                                                                            (Where Applicable)
  50      4/27/12   Roggin e-mail to McAtee & Song FW: Kaplan Service                UCMC00018191-92          FRE 403: Unfairly             The fact that a communication occurred
                                                                                                              Prejudicial. There is a       between Dr. Roggin and Ms. McAtee is not
                                                                                                              version that exists that      privileged. There is nothing misleading
                                                                                                              does not include the          about the email. See also Plaintiff's
                                                                                                              privileged e-mail from        Response to Motion in Limine .
                                                                                                              4/27/12; Misleading.
                                                                                                              Privileged 501/502.
                                                                                                              Subject to motion in limine

  51      5/16/12   Song e-mail re: grievance (sic) hearing outcome (provisionally   UCMC 00010369
                    offered)
  52      5/30/12   Song e-mail to McAtee & Artunduaga FW: Intern review             UCMC 00000372-73

  53      5/30/12   McAtee e-mail to Artunduaga re: April rotation review            UCMC 00000369-70

  54      5/31/12   McAtee e-mail to Artunduaga re: April rotation review            UCMC 00000367-68
                    (provisionally offered)
  55      6/20/12   Angelos e-mail to Artunduaga re: Greetings                       UCMC 00016003-04         FRE 401/402: Irrelevant,      Document is relevant to counter UCMC's
                                                                                                              Immaterial. FRE 801 -         arguments that negative assessments of
                                                                                                              Email from MA to PA           Dr. Artunduaga's performance were
                                                                                                              contains hearsay about        unanimous among attending physicians.
                                                                                                              ACGME                         Document not being offered to prove the
                                                                                                                                            truth of statements regarding ACGME and
                                                                                                                                            is, therefore, not hearsay. FRE 801(c).
  56      7/12/12   Ferguson e-mail to Song re: MA (provisionally offered)           UCMC 00015616            FRE 401/402: Irrelevant,      Document is relevant to show that
                                                                                                              Immaterial. FRE 403:          attending physicians wanted to make sure
                                                                                                              unfairly prejudicial,         they coordinated their responses relating to
                                                                                                              misleading                    questions regarding Dr. Artunduaga.
  57      7/18/12   Reference letter by Edwin Kaplan                                 ECFMG/MAA 0037           FRE 401/402/403:              Document is relevant to counter UCMC's
                                                                                                              Irrelevant, Immaterial,       arguments that negative assessments of
                                                                                                              Cumulative                    Dr. Artunduaga's performance were
                                                                                                                                            unanimous among attending physicians.
                                                                                                                                            Document is not cumulative of any other
                                                                                                                                            evidence.
  58      7/26/12   Angelos e-mail to Schaddelee re: Artunduaga FINAL EDITS          UCMC 00015999-6000       FRE 401/402/403:              Document is relevant to counter UCMC's
                                                                                                              Irrelevant, Immaterial,       arguments that negative assessments of
                                                                                                              Cumulative                    Dr. Artunduaga's performance were
                                                                                                                                            unanimous among attending physicians.
                                                                                                                                            Document is not cumulative of any other
                                                                                                                                            evidence.
                     Case: 1:12-cv-08733 Document #: 189-5 Filed: 11/30/16 Page 9 of 13 PageID #:5874
                                                          Artunduaga v. University of Chicago Medical Center
                                                                   Plaintiff's Proposed Exhibit List
                                                                          November 30, 2016
Ex. No.    Date                                 Description                         Bates Number               Objections                  Plaintiff's Statement of Admissibility
                                                                                                                                           (Where Applicable)
  59      7/26/12    Angelos e-mail to Schaddelee re: draft of Artunduaga letter    UCMC 00019281              FRE 401/402/403:            Document is relevant to counter UCMC's
                                                                                                               Immaterial, Misleading,     arguments that negative assessments of
                                                                                                               Irrelevant, unfairly        Dr. Artunduaga's performance were
                                                                                                               prejudicial. FRE 501/502. unanimous among attending physicians. It
                                                                                                               Subject to motion in limine is not misleading or unfairly prejudicial for
                                                                                                                                           jury to understand that attending physicians
                                                                                                                                           wanted to make sure they coordinated their
                                                                                                                                           responses relating to questions regarding
                                                                                                                                           Dr. Artunduaga. There is no privileged
                                                                                                                                           information in emails. See also Plaintiff's
                                                                                                                                           Response to Motion in Limine .

  60      7/26/12    Angelos reference letter for Artunduaga                        UCMC 00019246              FRE 401/402/403:             Document is relevant to counter UCMC's
                                                                                                               Irrelevant, Immaterial,      arguments that negative assessments of
                                                                                                               Cumulative                   Dr. Artunduaga's performance were
                                                                                                                                            unanimous among attending physicians.
                                                                                                                                            Document is not cumulative of any other
                                                                                                                                            evidence.
  61      7/27/12    Angelos e-mail to Schaddelee re: letter for Maria A            UCMC 00019276-77           FRE 403/501/502: Last e- Document does not contain any privileged
                                                                                                               mail (7/27/12, 4:53pm)       information. Document is relevant to
                                                                                                               Contains privileged          counter UCMC's arguments that negative
                                                                                                               information and reference assessments of Dr. Artunduaga's
                                                                                                               to the redaction is unfairly performance were unanimous among
                                                                                                               prejudicial. There is a      attending physicians. It is not misleading or
                                                                                                               version of the remaining e- unfairly prejudicial for jury to understand
                                                                                                               mails that exists without    that attending physicians wanted to make
                                                                                                               the redaction. FRE           sure they coordinated their responses
                                                                                                               401/402/403: Irrelevant,     relating to questions regarding Dr.
                                                                                                               Immaterial, Misleading.      Artunduaga. See also Plaintiff's Response
                                                                                                               Subject to motion in limine to Motion in Limine .


  62      10/10/12   Song e-mail to Hansen                                          UCMC 00011916-19           FRE 401/402/403:             Document is relevant to plaintiff's efforts to
                                                                                                               Irrelevant, Immaterial,      mitigate damages by applying to other
                                                                                                               Misleading, Unfairly         residency programs and relevant to Dr.
                                                                                                               prejudicial. FRE 602:        Artunduaga's claims for lost future earnings
                                                                                                               Speculative. Subject to      due to reputational injury. Dr. Song will be
                                                                                                               MIL (basis for state court   available to testify to allay any concerns
                                                                                                               claims that were             that document is misleading, unfairly
                                                                                                               dismissed)                   prejudicial or speculative. See also
                                                                                                                                            Response to Motion in Limine.
                     Case: 1:12-cv-08733 Document #: 189-5 Filed: 11/30/16 Page 10 of 13 PageID #:5875
                                                         Artunduaga v. University of Chicago Medical Center
                                                                  Plaintiff's Proposed Exhibit List
                                                                         November 30, 2016
Ex. No.    Date                                Description                          Bates Number              Objections                   Plaintiff's Statement of Admissibility
                                                                                                                                           (Where Applicable)
  63      11/7/12    Song e-mail to Roughton re: maybe I don't want to be program   UCMC 00011888-89          FRE 401/402/403:             Document is relevant to plaintiff's efforts to
                     director at UNC                                                                          Irrelevant, Immaterial,      mitigate damages by applying to other
                                                                                                              Misleading, Unfairly         residency programs and relevant to Dr.
                                                                                                              prejudicial. FRE 602:        Artunduaga's claims for lost future earnings
                                                                                                              Speculative. Subject to      due to reputational injury. Dr. Song will be
                                                                                                              MIL (basis for state court   available to testify to allay any concerns
                                                                                                              claims that were             that document is misleading, unfairly
                                                                                                              dismissed)                   prejudicial or speculative. See also
                                                                                                                                           Response to Motion in Limine.

  64      11/12/12   Song e-mail to Zenn re: question                               UCMC 00011887             FRE 401/402/403:             Document is relevant to plaintiff's efforts to
                                                                                                              Irrelevant, Immaterial,      mitigate damages by applying to other
                                                                                                              Misleading, Unfairly         residency programs and relevant to Dr.
                                                                                                              prejudicial. FRE 602:        Artunduaga's claims for lost future earnings
                                                                                                              Speculative. Subject to      due to reputational injury. Dr. Song will be
                                                                                                              MIL (basis for state court   available to testify to allay any concerns
                                                                                                              claims that were             that document is misleading, unfairly
                                                                                                              dismissed)                   prejudicial or speculative. See also
                                                                                                                                           Response to Motion in Limine.

  65      11/26/12   Dr. Becker evaluation of M. Reza Salabat                       UCMC 00022670-72          FRE 401/402/403:             Document is relevant to UCMC's argument
                                                                                                              Irrelevant, Immaterial,      that Dr. Becker evaluated Dr. Artunduaga
                                                                                                              unfairly prejudicial,        like she would evaluate any other resident.
                                                                                                              confusing
  66       1/4/13    Angelos to Duprey FW: Greetings                                UCMC 00019251-52          FRE 403/501/502: Last e- Document does not contain any privileged
                                                                                                              mail (1/4/2013, 4:39pm)      information. Document is relevant to
                                                                                                              Contains privileged          counter UCMC's arguments that negative
                                                                                                              information and reference assessments of Dr. Artunduaga's
                                                                                                              to the redaction is unfairly performance were unanimous among
                                                                                                              prejudicial. There is a      attending physicians. It is not misleading or
                                                                                                              version of the remaining e- unfairly prejudicial for jury to understand
                                                                                                              mails that exists without    that attending physicians wanted to make
                                                                                                              the redaction. FRE           sure they coordinated their responses
                                                                                                              401/402/403: Irrelevant,     relating to questions regarding Dr.
                                                                                                              Immaterial, Misleading.      Artunduaga. See also Plaintiff's Response
                                                                                                              Subject to motion in limine to Motion in Limine .
                           Case: 1:12-cv-08733 Document #: 189-5 Filed: 11/30/16 Page 11 of 13 PageID #:5876
                                                                 Artunduaga v. University of Chicago Medical Center
                                                                          Plaintiff's Proposed Exhibit List
                                                                                 November 30, 2016
Ex. No.        Date                                   Description                          Bates Number               Objections                   Plaintiff's Statement of Admissibility
                                                                                                                                                   (Where Applicable)
  67           1/4/13       Angelos to Duprey FW: Interviews                               UCMC 00019248              FRE 403/501/502: Last e- Document does not contain any privileged
                                                                                                                      mail (1/4/2013, 4:41pm)      information. Document is relevant to
                                                                                                                      Contains privileged          counter UCMC's arguments that negative
                                                                                                                      information and reference assessments of Dr. Artunduaga's
                                                                                                                      to the redaction is unfairly performance were unanimous among
                                                                                                                      prejudicial. There is a      attending physicians. It is not misleading or
                                                                                                                      version of the remaining e- unfairly prejudicial for jury to understand
                                                                                                                      mails that exists without    that attending physicians wanted to make
                                                                                                                      the redaction. FRE           sure they coordinated their responses
                                                                                                                      401/402/403: Irrelevant,     relating to questions regarding Dr.
                                                                                                                      Immaterial, Misleading.      Artunduaga. See also Plaintiff's Response
                                                                                                                      Subject to motion in limine to Motion in Limine.


  68      Various 9/12/03 - Group Exhibit re Probation of Michael Shao                     UCMC 00027219-21,          FRE 401/402/403: Unfairly
                                                                                                                                            Documents are relevant to show jury how
               6/20/06                                                                     00027243, 00027249,        prejudicial, Irrelevant,
                                                                                                                                            UCMC treated other residents on
                                                                                           00027251, 00027252,        Immaterial, Misleading,
                                                                                                                                            probation. There is nothing misleading,
                                                                                           00027257, 00027258,        Confusing, FRE 602: lack
                                                                                                                                            confusing, or unfairly prejudicial about
                                                                                           00027263, 00027265         foundation/personal   these evaluations. FRE 602 applies to
                                                                                                                      knowledge. Subject to witnesses, not documents. Documents
                                                                                                                      motion in limine. Date is in
                                                                                                                                            were produced by UCMCand, therefore,
                                                                                                                      error                 are implicitly authentic. U.S. v. Brown , 688
                                                                                                                                            F.2d 112, 116 (7th Cir. 1982). FRE
                                                                                                                                            801(d)(2)(D) - not hearsay. FRE 803(6) --
                                                                                                                                            business record. See also Plaintiff's
                                                                                                                                            Response to Motion in Limine. Error in
                                                                                                                                            dates does not affect admissibility.
  69      Various 4/3/12 - Group Exhibit re Probation of Ian Daniel                        UCMC 00023629-30,      FRE 401/402/403: Unfairly Documents are relevant to show jury how
             12/30/12                                                                      00023663-65, 00023637- prejudicial, Irrelevant,  UCMC treated other residents on
                                                                                           38                     Immaterial, Misleading,   probation. There is nothing misleading,
                                                                                                                  Confusing, FRE 602: lack confusing, or unfairly prejudicial about
                                                                                                                  foundation/personal       these evaluations. FRE 602 applies to
                                                                                                                  knowledge. Subject to     witnesses, not documents. Documents
                                                                                                                  motion in limine.         were produced by UCMC and, therefore,
                                                                                                                                            are implicitly authentic. U.S. v. Brown , 688
                                                                                                                                            F.2d 112, 116 (7th Cir. 1982). FRE
                                                                                                                                            801(d)(2)(D) - not hearsay. FRE 803(6) --
                                                                                                                                            business record. See also Plaintiff's
                                                                                                                                            Response to Motion in Limine .
                           Case: 1:12-cv-08733 Document #: 189-5 Filed: 11/30/16 Page 12 of 13 PageID #:5877
                                                                 Artunduaga v. University of Chicago Medical Center
                                                                          Plaintiff's Proposed Exhibit List
                                                                                 November 30, 2016
Ex. No.        Date                                   Description                           Bates Number              Objections                Plaintiff's Statement of Admissibility
                                                                                                                                                (Where Applicable)
  70      Various 12/9/09 - Group Exhibit re Probation of Mark London                       UCMC 00025051,            FRE 401/402/403: Unfairly Documents are relevant to show jury how
                6/12                                                                        00025073, 00025077        prejudicial, Irrelevant,  UCMC treated other residents on
                                                                                                                      Immaterial, Misleading,   probation. There is nothing misleading,
                                                                                                                      Confusing, FRE 602: lack confusing, or unfairly prejudicial about
                                                                                                                      foundation/personal       these evaluations. FRE 602 applies to
                                                                                                                      knowledge. Subject to     witnesses, not documents. Documents
                                                                                                                      motion in limine.         were produced by UCMC and, therefore,
                                                                                                                                                are implicitly authentic. U.S. v. Brown , 688
                                                                                                                                                F.2d 112, 116 (7th Cir. 1982). FRE
                                                                                                                                                801(d)(2)(D) - not hearsay. FRE 803(6) --
                                                                                                                                                business record. See also Plaintiff's
                                                                                                                                                Response to Motion in Limine .
  71          2/11/13      Defendant's Answers and Objections to Plaintiff's First Set of
                           Interrogatories

  72           4/7/14      Defendant's Answers and Objections to Plaintiff's Third Set of
                           Interrogatories

  73          10/27/14     Defendant's Response to Plaintiff's Second Set of Requests for
                           Admission

  74          10/31/14     Defendants Answers and Objections to Plaintiff's Fourth Set of
                           Interrogatories

  75          Various      Group Exhibit re Artunduaga's medical expenses                   MA 13898-909; MA          Objection to summary        MA 13898 and 13927 are proper summary
                                                                                            13926-27                  documents at MA 13898       documents admissible under FRE 1006.
                                                                                                                      and MA 13927. These         Documents are relevant to plaintiff's
                                                                                                                      are not source              damage claim for medical expenses.
                                                                                                                      documents, but
                                                                                                                      summaries without
                                                                                                                      reference to documents
                                                                                                                      which support same, and
                                                                                                                      are confusing, improper
                                                                                                                      and prejudicial under FRE
                                                                                                                      403.
                                                                                                                      FRE 401/402 All
                                                                                                                      documents are immaterial
                                                                                                                      and irrelevant.
  76          Various      Group Exhibit re Artunduaga's educational expenses               MA 13928-37               Objection to summary        MA 13928 and 13929 are proper summary
                                                                                                                      documents at MAMA           documents admissible under FRE 1006.
                                                                                                                      13928 and MA 13929.         Plaintiff and/or her husband will be
                                                                                                                      These are not source        available to testify to clear up any
                                                                                                                      documents, but              confusion.
                                                                                                                      summaries without
                                                                                                                      reference to documents
                                                                                                                      which support same, and
                                                                                                                      are confusing, improper
                                                                                                                      and prejudicial under FRE
                                                                                                                      403.
                     Case: 1:12-cv-08733 Document #: 189-5 Filed: 11/30/16 Page 13 of 13 PageID #:5878
                                                            Artunduaga v. University of Chicago Medical Center
                                                                     Plaintiff's Proposed Exhibit List
                                                                            November 30, 2016
Ex. No.    Date                                  Description                              Bates Number           Objections               Plaintiff's Statement of Admissibility
                                                                                                                                          (Where Applicable)
  77       None      PGY 1, 2, 3, 4, 5 -- 2011/12 Academic Schedule                       UCMC 00021368-76       FRE 401/402 Irrelevant Schedules of residents in other program
                                                                                                                 outside of the PGY 1     years are relevant to show that other
                                                                                                                 Schedule. FRE 403 -      residents' schedules were not randomly
                                                                                                                 confusing, misleading    changed at the last minute. UCMC
                                                                                                                                          witnesses will be available to clear up any
                                                                                                                                          confusion created by the exhibit.
  78      10/13/11   Barr email to Song re: Oct 18 Surg Ed Meeting w/attachments          UCMC 00014299-322      FRE 401/402: Evaluations The document is relevant because Dr.
                                                                                                                 of non-PGY1 PRS          Song told Dr. Artunduaga repeatedly that
                                                                                                                 residents/and surgical   her performance was not up to the PRS
                                                                                                                 education committee are section's standards and that PRS residents
                                                                                                                 irrelevant. FRE 403 --   were expected to perform better than the
                                                                                                                 misleading, incomplete,  average resident.
                                                                                                                 confusing and unfairly
                                                                                                                 prejudicial.
  79      Various    Group Exhibit re job applications                                    MA 013785-90

  80       None      Job application spreadsheet                                          MA 013781-84

  81       None      Curriculum Vitae for Professor Mark R. Killingsworth                                        Subject to Motion to Bar.   See Response to Motion to Bar. FRE
                                                                                                                 FRE 801/802 - hearsay       803(6) -- business record
  82       None      Table 1: Lost earnings calculations for Maria Artunduaga                                    Subject to Motion to Bar.   See Response to Motion to Bar. FRE
                                                                                                                 FRE 801/802 - hearsay       803(6) -- business record
  83       None      Table 1: Lost earnings calculations for Maria Artunduaga                                    Subject to Motion to Bar.   See Response to Motion to Bar. FRE
                     (calculations use ERI data for plastic surgeons' earnings)                                  FRE 801/802 - hearsay       803(6) -- business record
  84       None      Table 2: Lost earnings calculations for Maria Artunduaga                                    Subject to Motion to Bar.   See Response to Motion to Bar. FRE
                     (calculations use MGMA data for plastic surgeons' earnings)                                 FRE 801/802 - hearsay       803(6) -- business record
  85                 Demonstrative exhibit -- timeline                                                           Objections pending
                                                                                                                 presentation of exhibit.
  86                 Demonstrative exhibit -- analysis of evaluations of Dr. Artunduaga                          Objections pending
                     by attending physicians                                                                     presentation of exhibit.
  87                 Demonstrative exhibit -- analysis of weekly evaluations of Dr.                              Objections pending
                     Artunduaga during probation period                                                          presentation of exhibit.
                     Any exhibit on Defendant's Trial Exhibit List

                     Documents to be used for impeachment

                     Exhibits to be used in rebuttal case
